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                                  IN THE UNITED STATES DISTRICT COURT
                                 FOR THE SOUTHERN DISTRICT OF FLORIDA
                                       FORT LAUDERDALE DIVISION

                                      Case No. 20-cv-60719- DIMITROULEAS/SNOW


       ITAMAR MEDICAL LTD.,

                         Plaintiff,

       v.


       ECTOSENSE NV, and VIRTUOX, INC.,

                         Defendants.



                   ITAMAR’S NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE AS TO
                                        VIRTUOX, INC.

                   Plaintiff Itamar Medical Ltd. (“Itamar”), pursuant to Federal Rule of Civil Procedure

        41(a)(1)(A)(i), hereby files its Notice of Voluntary Dismissal with Prejudice only as to Defendant

        VirtuOx, Inc., with each party to bear its own costs and attorneys’ fees. Itamar’s claims against

        Defendant Ectosense nv shall not be affected by this Notice.



        Dated: January 7, 2022                               Respectfully submitted,

                                                             /s/ Laura Ganoza
                                                             FOLEY & LARDNER LLP
                                                             Laura Ganoza, Esq.
                                                             Florida Bar No. 0118532
                                                             lganoza@foley.com
                                                             atownsend@foley.com
                                                             Ana Romes, Esq.
                                                             Florida Bar No. 101179
                                                             aromes@foley.com
                                                             avargas@foley.com
                                                             Yelan Escalona, Esq.



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                                                Florida Bar No. 1031564
                                                yescalona@foley.com
                                                hmoreno@foley.com
                                                One Biscayne Tower, Suite 1900
                                                2 South Biscayne Boulevard
                                                Miami, Florida 33131
                                                Tel.: (305) 482-8400


                                                FOLEY & LARDNER LLP
                                                Jessica N. Walker, Esq.
                                                (admitted pro hac vice)
                                                555 South Flower Street, Suite 3300
                                                Los Angeles, CA 90071-2418
                                                Phone: (213) 972-4675
                                                jwalker@foley.com

                                                Counsel for Plaintiff Itamar Medical Ltd.




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